Case 1:22-mc-03696-HG-PK Document 13-16 Filed 09/28/22 Page 1 of 33 PageID #: 306
                                                                  Tuesday, September 27, 2022 at 14:55:48 Central Daylight Time


Subject:    Rosenfeld v. AC2T, Inc., No. 1:20-cv-04662-FB-PK (E.D.N.Y.) | AccepEng Service of Subpoena
            o/b/o USM
Date:       Thursday, September 8, 2022 at 6:54:48 PM Central Daylight Time
From:       David Tyler Adams
To:         Cal Mayo
CC:         Tara Young, Maria H. Ruiz, Jacob Abrams, Anitra R. Lawrence
AFachments: 2022.09.08 AC2T Subpoena to USM Final.pdf

Cal,

A\ached is a subpoena to be served on the University of Southern Mississippi in connecEon with Rosenfeld v.
AC2T, Inc., No. 1:20-cv-04662-HG-PK (E.D.N.Y.). Are you willing to accept service of the a\ached subpoena on
behalf of the University?

Thank you,

Ty


David Tyler (Ty) Adams
Kasowitz Benson Torres LLP
1633 Broadway
New York, NY 10019
Tel. (212) 506-1927
Fax. (212) 835-5067
DAdams@kasowitz.com

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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
   KALMAN ROSENFELD, individually and on
   behalf of all others similarly situated,

                                 Plaintiff,
                                                           Case No. 1:20-cv-04662-HG-PK
            v.

   AC2T, INC., BONNER ANALYTICAL
   TESTING CO., and JEREMY HIRSCH,

                                 Defendants.

                                     NOTICE OF SUBPOENA

         PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules of

  Civil Procedure, Defendant AC2T, Inc., by and through his undersigned counsel of record, will

  serve the subpoena attached as Exhibit 1 upon the following non-party:

         University of Southern Mississippi
         118 College Drive
         Hattiesburg, Mississippi 39406-0001

         This subpoena commands that this non-party produce documents to Dukes Dukes &

  Hunter, 226 W. Pine Street, Hattiesburg, Mississippi 39402, by October 8, 2022 or at

  any other time or place as counsel for the parties may agree.

  Dated: September 8, 2022
         New York, New York


                                                  KASOWITZ BENSON TORRES LLP


                                              By: /s/ Daniel R. Benson
                                                  Daniel R. Benson
                                                  David Tyler Adams
                                                  1633 Broadway
                                                  New York, New York 10019
                                                  Tel.: (212) 506-1700

                                                   1
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                                       E-Mail: dbenson@kasowitz.com
                                               dadams@kasowitz.com

                                       Maria H. Ruiz
                                       Jacob Abrams
                                       1441 Brickell Avenue,
                                       Suite 1420
                                       Miami, Florida 33131
                                       Tel.: (786) 587-1040
                                       E-Mail: mruiz@kasowitz.com
                                                jabrams@kasowitz.com




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                                  CERTIFICATE OF SERVICE

         I certify that, on September 8, 2022, I caused a true and correct copy of the foregoing

  notice of subpoena, dated September 8, 2022, to be served by electronic mail upon:


         J. Cal Mayo, Jr.
         MAYO MALLETTE
         2094 Old Taylor Road, Suite 200
         Oxford, Mississippi 38655
         Tel.: (662) 236-0055
         E-mail: cmayo@mayomallette.com

         Yitzchak Kopel
         Alec M. Leslie
         BURSOR & FISHER, P.A.
         888 Seventh Avenue
         New York, NY 10019
         Tel: (646) 837-7150
         Fax: (212) 989-9163
         E-Mail: ykopel@bursor.com
                 aleslie@bursor.com


         I declare under penalty of perjury that the foregoing is true and correct.



  Dated: September 8, 2022                             /s/ David Tyler Adams
         New York, New York                            David Tyler Adams




                                                   3
Case 1:22-mc-03696-HG-PK Document 13-16 Filed 09/28/22 Page 5 of 33 PageID #: 310




                                University of Southern Mississippi
                                        118 College Drive
                               Hattiesburg, Mississippi 39406-0001




   Dukes Dukes & Hunter
   226 W. Pine St.
   Hattiesburg, Mississippi 39402




                                                                      AC2T, Inc.
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                             for services, for a total of $                0.00    .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                                             Reset
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                  Exhibit 1
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                                            DEFINITIONS

         As used in these Requests, and in addition to the definitions provided by Rule 26.3 of the

  Local Rules, which are expressly incorporated herein, the following terms have the meanings

  indicated:

         1.      Each word, term, or phrase used in these Requests is intended to have the broadest

  meaning permitted under the Federal Rules of Civil Procedure and the Local Rules.

         2.      “AC2T” refers to AC2T, Inc., the defendant in this Action, doing business as

  Spartan Mosquito.

         3.      “Action” means the civil action entitled Rosenfeld v. AC2T, Inc., No. 1:20-cv-

  04662-FB-PK, currently pending before the United States District Court for the Eastern District

  of New York.

         4.      The words “and,” “or,” and “any” are intended to be construed as necessary to

  bring within the scope of these requests for production any information which otherwise might

  be construed to be outside the scope of any of them.

         5.      The term “concerning” means in connection with, referring to, relating to,

  describing, evidencing or constituting.

         6.      “Documents” is used in the broadest possible sense within the parameters of

  Federal Rules of Civil Procedure and includes, without limitation, the original or any non-

  identical copy of all writings of any nature whatsoever, whether electronically stored

  information, typewritten, printed or recorded, or reproduced by any other mechanical or

  electronic process, or written or produced by hand, including, but not limited to the following:

  contracts or agreements; communications, including correspondence, e-mails, filings, telegrams,

  memoranda, records, books, summaries of records or of personal conversations or interviews,


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  blog posts, posts on Twitter, Instagram, Facebook, and any other social media platform; diaries;

  forecasts; statistical statements; accountants’ work papers; graphs; charts; accounts; bank books;

  deposits slips; analytical records; notes, minutes or records of meetings, conferences or

  conversations; reports, and/or summaries of interviews, reports of consultants; appraisals; reports

  and/or summaries of negotiations; brochures; pamphlets; circulars; trade letters; press releases;

  notes; projections; working papers; securities ledgers; checks, front and back; check stubs or

  receipts; microfilm; photographs; sound or video tapes; computer tapes and discs; information

  contained in any computer, video, audio, magnetic or other mechanical device or machine

  although not yet printed out; and all drafts or copies of the foregoing. The term Documents shall

  not be limited to Your professional communication mediums, but shall also include personal e-

  mail, faxes, text messages, or otherwise.

         7.      “Dr. Yee” refers to Dr. Donald Yee, Professor at the University of Southern

  Mississippi.

         8.      “Hirsch” refers to Jeremy Hirsch, founder of AC2T, Inc.

         9.      “Bonner” refers to Bonner Analytical Testing Co.

         10.     “Paper” means the paper titled, “No Evidence That Salt Water Ingestion Kills

  Adult Mosquitoes (Diptera: Culicidea)”, published on or about March 2020 in the Journal of

  Medical Entomology, Volume 58, Issue 2, which is based on the Study.

         11.     “Plaintiff” means Kalman Rosenfeld, plaintiff in the Action, together with his

  agents, employees, consultants, attorneys, and persons acting or purporting to act on his behalf,

  including but not limited to Plaintiff’s Counsel.

         12.     “Plaintiff’s Complaint” is the complaint filed by Plaintiff in the Action, attached

  to this Subpoena as Exhibit 2.


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            13.   “Plaintiff’s Counsel” shall mean Bursor & Fisher, P.A., together with its partners,

  associates, of counsel, shareholders, members, and employees who are working on this Action,

  and all agents, consultants, and representatives who assist such persons in connection with this

  Action.

            14.   “Product” shall mean the Spartan Mosquito Eradicator, identified in paragraph 1

  of Plaintiff’s Complaint in this Action.

            15.   The terms “Request” or “Requests” refer to the requests for documents stated

  herein.

            16.   The term “Study” refers to the testing performed in 2019 and 2020 that serves as

  the basis of the Paper.

            17.   “You” or “Your” refers to the University of Southern Mississippi.

            18.   The use of the singular form of any word includes the plural and vice versa.

                                             INSTRUCTIONS

            A.    Use of a singular noun shall be construed to include the plural noun and use of a

  plural noun shall be construed to include the singular noun.

            B.    The use of a verb in any tense shall be construed as the use of that verb in all

  other tenses whenever necessary to bring within the scope of the discovery request Documents or

  information that might otherwise be construed to be outside its scope.

            C.    You are requested to produce all Documents in Your possession, custody or

  control.

            D.    Documents shall be produced in the order in which they appear in their original

  files or other storage areas and shall not be shuffled or otherwise rearranged.




                                                    3
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         E.      The Documents produced in this request shall include all attachments and

  enclosures, whether or not they are separately responsive to any Request.

         F.      In the event any Document called for by this request has been destroyed,

  discarded, misplaced or otherwise disposed of, or is otherwise presently unavailable, the

  unavailable Document is to be identified as follows: addressor, addressee, indicated or blind

  copies, date, subject matter, number of pages, attachments or appendices, all persons to whom

  the document was distributed, shown or explained, date of destruction or disposal, and name and

  business title of person who destroyed, discarded, misplaced or disposed of such Document.

         G.      Electronically stored information should be produced in the same electronic form

  as it exists in each of the party’s computers, original files or other storage media and the

  production should preserve the integrity of the underlying electronically stored information, i.e.,

  the original formatting, metadata, email header information and, where applicable, the revision

  history. If any information or data is withheld because such information or data is stored

  electronically and is not reasonably accessible without undue burden or cost, it is to be identified

  by the subject matter of the information or data and the place or places where such information is

  maintained.

         H.      The Requests herein are continuing in nature. If at any time any Documents are

  obtained in addition to those that have been previously been produced to Plaintiff, prompt

  supplementation of such responses to these Requests is required.

         I.      Each Request shall be answered separately and fully in writing, unless it is

  objected to, in which event the objecting party shall produce the portion of the document to the

  extent the Request is not objectionable.

         J.      All grounds for an objection to a Request shall be stated with specificity.


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            K.   Unless otherwise stated, the time period for these Requests is June 1, 2016 to the

  present.

                                 REQUESTS FOR PRODUCTION

            1.   All Documents and Communications relating to the Study.

            2.   All Documents and Communications relating to the Paper.

            3.   All Documents and Communications relating to the payment, commissioning,

  sponsorship, or any other financial contribution or assistance provided by any person or entity in

  connection with the Study or the Paper.

            4.   All communications to, from, copying, or blind copying Janet Donaldson or

  persons acting on her behalf concerning the Product, AC2T, Spartan Mosquito, Hirsch, Bonner,

  the Study, the Paper, or this Action.

            5.   All communications to, from, copying, or blind copying Gordon Cannon or

  persons acting on his behalf concerning the Product, AC2T, Spartan Mosquito, Hirsch, Bonner,

  the Study, the Paper, or this Action.

            6.   All communications to, from, copying, or blind copying Chris Winstead or

  persons acting on his behalf concerning the Product, AC2T, Spartan Mosquito, Hirsch, Bonner,

  the Study, the Paper, or this Action.

            7.   All communications to, from, copying, or blind copying Marcia Landen or

  persons acting on his behalf concerning the Product, AC2T, Spartan Mosquito, Hirsch, Bonner,

  the Study, the Paper, or this Action.

            8.   All communications to, from, copying, or blind copying Colin Purrington

  concerning the Product, AC2T, Spartan Mosquito, Hirsch, Bonner, the Study, the Paper, or this

  Action.


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         9.     All communications to, from, copying, or blind copying Yitz Kopel or any other

  partner, member, associate, employee, or agent of Bursor & Fisher, P.A. concerning the Product,

  AC2T, Spartan Mosquito, Hirsch, Bonner, the Study, the Paper, or this Action.

  Dated: September 7, 2022
         New York, New York


                                                KASOWITZ BENSON TORRES LLP


                                          By: /s/ Daniel R. Benson
                                              Daniel R. Benson
                                              David Tyler Adams
                                              1633 Broadway
                                              New York, New York 10019
                                              Tel.: (212) 506-1700
                                              E-Mail: dbenson@kasowitz.com
                                                       dadams@kasowitz.com

                                                Maria H. Ruiz
                                                Jacob Abrams
                                                1441 Brickell Avenue,
                                                Suite 1420
                                                Miami, Florida 33131
                                                Tel.: (786) 587-1040
                                                E-Mail: mruiz@kasowitz.com
                                                         jabrams@kasowitz.com




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                   Exhibit 2
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK



    KALMAN ROSENFELD, individually and on                 Civil Action No.:
    behalf of all others similarly situated,
                                                          CLASS ACTION COMPLAINT
                                   Plaintiff,
                                                          JURY TRIAL DEMANDED
           v.

    AC2T, INC., BONNER ANALYTICAL
    TESTING CO., and JEREMY HIRSCH.

                                   Defendants.


          Plaintiff Kalman Rosenfeld (“Plaintiff”), by and through his attorneys, makes the

   following allegations pursuant to the investigation of his counsel and based upon information

   and belief, except as to allegations specifically pertaining to himself and his counsel, which are

   based on personal knowledge, against Defendants AC2T, Inc. (“Spartan”), Bonner Analytical

   Testing Co., and Jeremy Hirsch (collectively, “Defendants”).

                                     NATURE OF THE ACTION

          1.      This is a class action lawsuit on behalf of purchasers of the Spartan Mosquito

   Eradicator (the “Product”) in the United States.

          2.      Spartan represents that the Product “eradicate[s] your mosquito population for up

   to 90 days,” and that it provides “do-it-yourself mosquito control,” as shown in the image below:




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          3.      Spartan also represents that the Product “[s]ignificantly decreases population

   within 15 days,” and “[p]rovides up to 95% mosquito control for up to 90 days”1:




          4.      Unfortunately for consumers, however, each of these representations is false and

   misleading. The Spartan Mosquito Eradicator is a complete scam. As explained below, the

   Product is ineffective for mosquito control because it does not kill mosquitoes or decrease

   mosquito populations. Worse, Defendants are well-aware that the Product is ineffective yet sell

   it anyway in pursuit of profit and in clear disregard for public health and safety.

          5.      Independent peer-reviewed research recently published in the Journal of the

   Florida Mosquito Control Association shows that the Spartan Mosquito Eradicator does not live

   up to the representations on the Product’s labeling.2 To be sure, Defendants’ Product was tested

   both in a laboratory setting and field study “to evaluate the effectiveness of the commercial




   1
    https://spartanmosquito.com/mosquito-control/
   2
    Aryaprema, et al., Efficacy of Commercial Attractive Toxic Sugar Bait Station (ATSB) Against
   Aedes Albopictus, JOURNAL OF THE FLORIDA MOSQUITO CONTROL ASSOCIATION, Vol. 27, 2020,
   available at https://www.researchgate.net/profile/RuiDe_Xue/publication/342562143
   _JFMCA672 020/l inks/5efb419f92851c52d609f552/JFMCA672020.pdf#page=86

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   product in reducing the population densities of Aedes albopictus,” a common species of

   mosquito in the United States known to carry disease.

           6.       The results of the study were clear. The study concluded that “[b]oth the

   laboratory and field components of our study show that the Spartan Mosquito Eradicator is not

   effective in reducing the abundance of Ae. Albopictus.” Id. at pp. 4; see also id. at pp. 1

   (“Neither laboratory nor field components of the study showed significant evidence that the

   commercial product could reduce the abundance of Ae. albpopictus in the natural

   environment.”).

           7.       The findings of this study were hardly surprising. The Product only has three

   “active” ingredients: sugar, salt, and yeast. Consumers are also instructed to add water to the

   devices. The devices purport to attract mosquitoes to drink their four-ingredient solution which

   supposedly kills the mosquitoes before they can breed.

           8.       Here is how Spartan explains this process: “[t]he Spartan mosquito Eradicators

   contain sugar, salt, and yeast. When a mosquito ingests the Sodium Chloride (salt), its

   crystalline structure ‘cuts’ their stomach, causing it to rupture. The fermentation process also

   continues after mosquitoes ingest the mixture, and CO2 production in the mosquito also causes

   the stomach to rupture.”

           9.       But if this claim of having solved one of mankind’s most vexing problems and

   greatest health challenges using just sugar, salt, and yeast sounds too good be true, that is

   because it is.

           10.      Scientists have repeatedly researched whether consuming salt can kill mosquitoes.

   It cannot. In fact, once water is added, the Product’s salt content is remarkably close to the salt

   content in human blood – 1% of the Product’s solution vs. .9% observed in human blood. Sadly,




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   mosquitoes, which regularly feed on human blood in real life, do not experience “cuts” in their

   stomachs from the salt content.

          11.       To the contrary, rather than dying from the salt, mosquitoes’ bodies are able to

   eliminate it. As a leading textbook explains: “[w]hen a female takes a blood meal, excess salts

   (Na+, K+ and Cl-), which are absorbed across the stomach, are rapidly eliminated by Malpighian

   Tubules/hindgut activity.”3 In other words, mosquitoes simply urinate the salt out – just like

   other animals.

          12.       That salt cannot kill mosquitoes is further supported by another independent

   peer-reviewed scientific study conducted by the School of Biological, Environmental, and Earth

   Sciences at the University of Mississippi, attached hereto as Exhibit A.4 The study explains that

   “several manufacturers … have promoted devices that claim ingestion of salt will significantly

   reduce populations of wild mosquitoes … there are no known scientific efficacy data that support

   these claims.” Ex. A, at pp. 2. To be sure, the study tested the impact of salt ingestion on 9

   common species of mosquito: Aedes aegypti, Aedes albopictus, Aedes dorsalis, Aedes

   notoscriptus, Aedes vigilax, Anopheles quadrimaculatus, Culex pipiens, Culex quinquefasciatus,

   and Culex tarsalis. Id. The study states that “[b]ased on our data and coupled with the fact that

   mosquitoes have physiological and behavioral adaptations that allow them to avoid or process

   salt (as found in blood meals), we conclude that there is no scientific foundation for salt-based

   control methods of mosquitoes.” Id.




   3
     Clements, A. N. 2000. The Biology of Mosquitoes. CABI publishing.
   4
     Although the article has passed the peer-review process and has been accepted for publication,
   it has not yet peen published. For the ease of the Court and the parties, Plaintiff has attached
   herewith a copy of the study that has been marked “accepted” by the Journal of Medical
   Entomology.

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           13.     The study specifically mentions the Spartan Mosquito Eradicator as a device that

   claims “salt feeding by adults will reduce mosquito numbers in the wild.” Id. at pp. 3. However,

   the authors note “there are no data that have tested the effectiveness of salt as a substance to kill

   mosquitoes.” Id. For this reason, the authors “tested the effect of salt on survival in nine species

   of adult mosquitoes” and “hypothesized that low concentrations of salt would not affect adult

   [mosquito] survival, and we predicted that the addition of salt to a standard sugar diet would not

   prove to be an effective control mechanism for adult mosquitoes.” Id. at pp. 3.

           14.     The findings of the study were stated as follows:

                   Our results from testing the effect of salt on the survival of nine
                   mosquito species of public health importance were clear: there was
                   no evidence from these trials that ingestion of salt had an added
                   lethal effect on adult mosquitoes. Thus, our data support the
                   hypothesis that low concentrations of salt would not affect adult
                   mosquito survival. In seven out of nine of our species we found
                   that mosquitoes that ingested a diet with salt and sugar survived at
                   rates equal to those fed a standard diet of sugar alone.


   Id. at pp. 9 (emphasis added).

           15.     Importantly, the authors also warned that “in many instances state and federal

   laws do not require efficacy data to support claims made by these devices” and that they “caution

   that relying on an approach that has no scientific basis,” such as Spartan Mosquito Eradicator,

   “may result in a false sense[] of security for homeowners, which may be dangerous in areas

   where mosquitoes could potentially be transmitting pathogens.” Id. at pp. 12.

           16.     Here too, the results are clear: “we conclude that salt is ineffective for the control

   of mosquito populations by individual consumers, regulatory agencies, or mosquito control

   districts.” Id. at pp. 13.




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          17.     Other research shows that mosquitoes have taste receptors and are capable of

   detecting a food’s salt content. If a food or liquid is too salty, mosquitoes will not consume it

   and will not lay eggs there.5

          18.     Incredibly, a recent published review found that consumption of salt content in

   mosquitoes causes them to consume more blood than they otherwise would have.6

          19.     Nor is there any truth to Defendants’ claim that the combination of sugar and

   yeast is lethal to mosquitoes. Wild yeast is ubiquitous in nature and it causes fermentation of

   rotting (sugary) fruit, which is a preferred food for mosquitoes.7 Wild yeasts are also regularly

   found in nectar, another preferred mosquito food.8 Needless to say, these natural mosquito food

   sources do not cause lethality.

          20.     Yeast is not just found throughout nature. It is also already present in

   mosquitoes’ intestinal microbiota.9 Yeast is an important and necessary part of mosquito

   microbiota, just as sugary objects are a natural food source for mosquitoes.10 And as with salt,




   5
     Christophers, R. 1960. Aedes aegypti. The yellow fever mosquito: Its life history,
   bionomics and structure. Cambridge University Press
   6
     Gonzales, K.K. and I.A. Hansen. 2016. Artificial diets for mosquitoes. International Journal of
   Environmental Research and Public Health. 13: 1267
   7
     Peach, Daniel A. H. and Gerhard Gries. Mosquito Phytophagy – Sources Exploited, Ecological
   Function And Evolutionary Transition To Haematophagy. 2019.
   8
     Robert N. Schaeffer, et al. Consequences of a nectar yeast pollinator preference and
   performance. BRITISH ECOLOGICAL SOCIETY (Sept. 2016). Available at
   https://besjournals.onlinelibrary.wiley.com/doi/full/10.1111/1365-2435.12762.
   9
     Ryan C. Smith, et al. The Plasmodium bottleneck: malaria parasite losses in the mosquito
   vector. MEM. INST. OSWALDO CRUZ (Aug. 2014). Available at
   https://www.scielo.br/scielo.php?pid=S0074-02762014000500644&script=sci_arttext
   10
      Jovana Bozic, et al. Mosquitoes can harbour yeasts of clinical significance and contribute to
   their environmental dissemination. Environmental Microbiology Reports (July 2017). Available
   at https://www.researchgate.net/publication/318503736_Mosquitoes_can_
   harbour_yeasts_of_clinical_significance_and_contribute_to_their_environmental_dissemination/
   link/5b0fef854585156fccd7b028/download

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   yeast and sugar are also found in human blood.11 Thus, the suggestion that the combination of

   yeast and sugar could cause mosquitoes to explode is absurdly misguided.

          21.     It is for this reason that the Mosquito Illness Alliance has listed the Product as the

   first in their list of “Myths/Scams (Products that do not work).” Its website notes that the

   Product is “based on a ‘yeast trap’ design” and its claims of efficacy “have been debunked

   repeatedly by independent research.”12

          22.      Defendants already know that the Product does not work. They have repeatedly

   commissioned efficacy tests which found that their marketing claims were unsupported and that

   the Product did not work as advertised. However, they have suppressed publication of these

   findings using nondisclosure agreements and threats to the scientists involved in this research.

          23.     These threats to scientists sounding the alarms on the Product’s failure to work as

   advertised are key to furtherance of Defendants’ fraudulent scheme. Spartan’s founder and

   spokesperson, Jeremy Hirsch, has made personal threats to at least one scientist involved in this

   research in order to intimidate him out of publicizing the results of his research.

          24.      Mr. Hirsch also left menacing communications to Colin Purrington, a biologist

   that has published results of his own investigation into the Products on the internet. After

   leaving a review of his findings of the Product’s inefficacy on Amazon, Mr. Hirsch wrote a

   public response identifying Mr. Purrington’s wife’s place of employment.

          25.     The fraudulent scheme has also been advanced with cooperation from Bonner

   Analytical Testing Co., which is owned by Christopher Bonner, Spartan’s Vice President.




   11
      Tawidian et al., Mosquito-Fungus Interactions and Antifungal Immunity, Insect Biochemistry
   and Molecular Biology 111 (2019) 103182.
   12
      https://www.mosquitoillnessalliance.org/myths-and-truths

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          26.     Defendants publish the findings of a purported test of the Product showing

   significant efficacy on the label. They also regularly tout the results of this “test” in the media.




          27.     But this “test,” which was ran by Bonner Analytical, was scientifically invalid, as

   Defendants have been advised. First, it was not even performed on the correct product. This test

   was conducted on a former iteration of the Product which contained boric acid – an actual poison

   capable of killing mosquitoes.

          28.     Moreover, the test was (1) conducted without any scientific control and (2) was

   conducted in a location and during a period when the local government was already spraying

   insecticides meant to kill and reduce mosquito populations. The fact that Defendants happened

   to purportedly observe a reduction in mosquito population was completely meaningless – this

   reduction was due to the spraying, not the Product.

          29.     Upon information and belief, nobody with scientifically legitimate qualifications

   participated in this “testing.” A qualified entomologist was invited to participate. However, she




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   declined to do so once she was presented with the nondisclosure agreement Defendants have

   repeatedly used to silence other scientists.

          30.     Defendants have sold tens of millions of dollars’ worth of the Product through

   their false promises of effectiveness to consumers in the United States.

          31.     They have done so by capitalizing on health risks posed by mosquitoes to

   humans. Defendants’ literature has correctly stated that “[t]he mosquito is the deadliest animal

   in the world.” In this regard, Defendants’ scheme is especially malicious in that they know

   consumers are relying on their worthless Product to protect them from mosquito-borne illnesses.

          32.     Plaintiff is a purchaser of Spartan Mosquito Eradicator who asserts claims on

   behalf of himself and similarly situated purchasers of Spartan Mosquito Eradicator for fraud,

   violations of the consumer protection laws of New York, unjust enrichment, breach of express

   warranty and violation of the Magnuson-Moss Warranty Act.

                                                  PARTIES

          33.     Plaintiff Kalman Rosenfeld is a citizen of New York who resides in Brooklyn,

   New York. In the summer of 2019, Mr. Rosenfeld purchased the Product from a Home Depot

   store in Brooklyn for approximately $25. Prior to purchase, Mr. Rosenfeld carefully read the

   Product’s labeling, including the representations that it “eradicate[s] your mosquito population

   for up to 90 days,” and that it provides “do-it-yourself mosquito control.” Mr. Rosenfeld

   believed these statements to mean that the Product would effectively eliminate mosquitoes. Mr.

   Rosenfeld relied on these representations in that he would not have purchased the Product at all,

   or would have only been willing to pay a substantially reduced price for the Product, had he

   known that these representations were false and misleading. Plaintiff Rosenfeld used the Product

   according to the Product’s directions, but it did not provide effective mosquito control as

   advertised.

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           34.     Defendant AC2T, Inc. is a Mississippi corporation with its principal place of

   business in Laurel, Mississippi. Defendant AC2T, Inc., manufactures and sells the Product under

   the Spartan Mosquito brand name.

           35.     Defendant Bonner Analytical Testing Co. is a Mississippi corporation with its

   principal place of business in Hattiesburg, Mississippi. Upon information and belief, Defendant

   Bonner Analytical Testing Co. is responsible for conducting and reporting inaccurate test results

   as to the Product’s efficacy.

           36.     Defendant Jeremy Hirsch is the President of AC2T, Inc and a resident of

   Mississippi. Mr. Hirsch acts as Spartan’s spokesperson, regularly promoting the Product on

   television and other media. He has also personally participated in the campaign of intimidation

   and concealment discussed above.

                                     JURISDICTION AND VENUE

           37.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)

   because there are more than 100 class members and the aggregate amount in controversy exceeds

   $5,000,000.00, exclusive of interest, fees, and costs, and at least one Class member is a citizen of

   a state different from Defendants.

           38.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a

   substantial part of the events giving rise to the claim occurred in this district.

           39.     All conditions precedent necessary for filing this Complaint have been satisfied

   and/or such conditions have been waived by the conduct of the Defendants.




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                           CLASS REPRESENTATION ALLEGATIONS

          40.     Mr. Rosenfeld seeks to represent a class defined as all persons in the United

   States who purchased the Product (the “Class”). Excluded from the Class are persons who made

   such purchase for purpose of resale.

          41.     Mr. Rosenfeld also seeks to represent a subclass defined as all Class members

   who purchased the Product in New York (the “New York Subclass”).

          42.     Members of the Class and New York Subclass are so numerous that their

   individual joinder herein is impracticable. On information and belief, members of the Class and

   New York Subclass number in the millions. The precise number of Class members and their

   identities are unknown to Plaintiff at this time but may be determined through discovery. Class

   members may be notified of the pendency of this action by mail and/or publication through the

   distribution records of Defendants and third-party retailers and vendors.

          43.     Common questions of law and fact exist as to all Class members and predominate

   over questions affecting only individual Class members. Common legal and factual questions

   include, but are not limited to whether Defendants’ labeling, marketing and promotion of the

   Product is false and misleading.

          44.     The claims of the named Plaintiff are typical of the claims of the Class in that the

   named Plaintiff was exposed to Defendants’ false and misleading marketing and promotional

   materials and representations, purchased the Product, and suffered a loss as a result of that

   purchase.

          45.     Plaintiff is an adequate representative of the Class and Subclass because his

   interests do not conflict with the interests of the Class members he seeks to represent, he has

   retained competent counsel experienced in prosecuting class actions, and he intends to prosecute




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   this action vigorously. The interests of Class members will be fairly and adequately protected by

   Plaintiff and his counsel.

          46.     The class mechanism is superior to other available means for the fair and efficient

   adjudication of the claims of Class members. Each individual Class member may lack the

   resources to undergo the burden and expense of individual prosecution of the complex and

   extensive litigation necessary to establish Defendants’ liability. Individualized litigation

   increases the delay and expense to all parties and multiplies the burden on the judicial system

   presented by the complex legal and factual issues of this case. Individualized litigation also

   presents a potential for inconsistent or contradictory judgments. In contrast, the class action

   device presents far fewer management difficulties and provides the benefits of single

   adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

   Defendants’ liability. Class treatment of the liability issues will ensure that all claims and

   claimants are before this Court for consistent adjudication of the liability issues.

                                                   COUNT I
                    Deceptive Acts Or Practices, New York Gen. Bus. Law § 349
          47.     Plaintiff incorporates by reference and re-alleges each and every allegation set

   forth above as though fully set forth herein.

          48.     Plaintiff brings this claim individually and on behalf of members of the New York

   Subclass against Defendants.

          49.     By the acts and conduct alleged herein, Defendants committed unfair or deceptive

   acts and practices by making false representations on the label of the Product.

          50.     The foregoing deceptive acts and practices were directed at consumers.

          51.     The foregoing deceptive acts and practices are misleading in a material way

   because they fundamentally misrepresent the ability of the Product to control mosquitoes.


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           52.    Plaintiff and members of the New York Subclass were injured as a result because

   (a) they would not have purchased the Product if they had known that The Product was

   ineffective for its stated purposes, and (b) they overpaid for the Product on account of its

   misrepresentations that it “eradicate[s] your mosquito population for up to 90 days,” and that it

   provides “do-it-yourself mosquito control.”

           53.    On behalf of himself and other members of the New York Subclass, Plaintiff

   seeks to enjoin the unlawful acts and practices described herein, to recover their actual damages

   or fifty dollars, whichever is greater, three times actual damages, and reasonable attorneys’ fees.

                                             COUNT II
                         False Advertising, New York Gen. Bus. Law § 350
           54.    Plaintiff incorporates by reference and re-alleges each and every allegation set

   forth above as though fully set forth herein.

           55.    Plaintiff brings this claim individually and on behalf of members of the New York

   Subclass against Defendants.

           56.    Based on the foregoing, Defendants have engaged in consumer-oriented conduct

   that is deceptive or misleading in a material way which constitutes false advertising in violation

   of Section 350 of the New York General Business Law because it fundamentally misrepresents

   the ability of The Product to control mosquitoes.

           57.    The foregoing advertising was directed at consumers and was likely to mislead a

   reasonable consumer acting reasonably under the circumstances.

           58.    These misrepresentations have resulted in consumer injury or harm to the public

   interest.

           59.    As a result of these misrepresentations, Plaintiff and members of the New York

   Subclass have suffered economic injury because (a) they would not have purchased the Product



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   if they had known that the Product was ineffective for its stated purposes, and (b) they overpaid

   for the Product on account of its misrepresentations that it “eradicate[s] your mosquito

   population for up to 90 days,” and that it provides “do-it-yourself mosquito control.”

          60.     On behalf of himself and other members of the New York Subclass, Plaintiff

   seeks to enjoin the unlawful acts and practices described herein, to recover their actual damages

   or five hundred dollars, whichever is greater, three times actual damages, and reasonable

   attorneys’ fees.

                                               COUNT III
                                          Unjust Enrichment
          61.     Plaintiff incorporates by reference and re-alleges each and every allegation set

   forth above as though fully set forth herein.

          62.     Plaintiff brings this claim individually and on behalf of members of the Class and

   New York Subclass against Defendants.

          63.     Plaintiff and Class members conferred benefits on Defendants by purchasing the

   Product.

          64.     Defendants have knowledge of such benefits.

          65.     Defendants have been unjustly enriched in retaining the revenues derived from

   Plaintiff’s and Class members’ purchases of the Product. Retention of those moneys under these

   circumstances is unjust and inequitable because Defendants misrepresented that the Product

   “eradicate[s] your mosquito population for up to 90 days,” and that it provides “do-it-yourself

   mosquito control.”

          66.     Because Defendants’ retention of the non-gratuitous benefits conferred on it by

   Plaintiff and Class members is unjust and inequitable, Defendants must pay restitution to

   Plaintiff and the Class members for their unjust enrichment, as ordered by the Court.


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                                               COUNT IV
                                       Breach of Express Warranty
          67.     Plaintiff incorporates by reference and re-alleges each and every allegation set

   forth above as though fully set forth herein.

          68.     Plaintiff brings this claim individually and on behalf of members of the Class and

   New York Subclass against Defendants.

          69.     In connection with the sale of the Product, Defendants, as the designers,

   manufacturers, marketers, distributors, and/or sellers issued written warranties by representing

   that the Product “eradicate[s] your mosquito population for up to 90 days,” and that it provides

   “do-it-yourself mosquito control.”

          70.     In fact, The Product does not conform to the above-referenced representations

   because the Product is ineffective for its stated purposes.

          71.     Plaintiff and Class members were injured as a direct and proximate result of

   Defendants’ breach because (a) they would not have purchased the Product if they had known

   that the Product was ineffective for its stated purposes, and (b) they overpaid for the Product on

   account of its misrepresentations that it “eradicate[s] your mosquito population for up to 90

   days,” and that it provides “do-it-yourself mosquito control.”

          72.     On March 16, 2020, a pre-suit notice letter was sent to Defendants via certified

   mail that provided notice of Defendants’ breach of warranty and demanded that Defendants

   rectify the breaches of warranty complained of herein. The letter also stated that if Defendants

   refused to do so, a class action complaint seeking damages would be filed. Defendants have

   failed to comply with the letter.




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                                                COUNT V
                                    Magnuson-Moss Warranty Act

          73.     Plaintiff hereby incorporates by reference and re-alleges each and every allegation

   set forth above as though fully set forth herein.

          74.     Plaintiff brings this case individually and on behalf of the members of the

   proposed Class against Defendants.

          75.     The Product is a consumer product as defined in 15 U.S.C. § 2301(1).

          76.     Plaintiff and Class members are consumers as defined in 15 U.S.C. § 2301(3).

          77.     Defendants are suppliers and warrantors as defined in 15 U.S.C. § 2301(4) and

   (5).

          78.     In connection with the sale of the Product, Defendants issued written warranties

   as defined in 15 U.S.C. § 2301(6), which warranted that it “eradicate[s] your mosquito

   population for up to 90 days,” and that it provides “do-it-yourself mosquito control.”

          79.     In fact, The Product is ineffective to control mosquitoes.

          80.     By reason of Defendants’ breach of warranty, Defendants violated the statutory

   rights due to Plaintiff and Class members pursuant to the Magnuson-Moss Warranty Act, 15

   U.S.C. §§ 2301, et seq., thereby damaging Plaintiff and Class members.

          81.     Plaintiff and Class members were injured as a direct and proximate result of

   Defendants’ violation because (a) they would not have purchased the Product if they had known

   that the Product was ineffective for its stated purposes, and (b) they overpaid for the Product on

   account of its misrepresentations that it “eradicate[s] your mosquito population for up to 90

   days,” and that it provides “do-it-yourself mosquito control.”




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                                               COUNT VI
                                                  Fraud
           82.    Plaintiff hereby incorporates by reference and re-alleges each and every allegation

   set forth above as though fully set forth herein.

           83.    Plaintiff brings this claim individually and on behalf of the members of the

   proposed Class and New York Subclass against Defendants.

           84.    As discussed above, Defendant misrepresented that the Product “eradicate[s] your

   mosquito population for up to 90 days,” and that it provides “do-it-yourself mosquito control.”

           85.    The false and misleading representations and omissions were made with

   knowledge of their falsehood. As set forth above, Defendants were repeatedly notified that their

   Product did not work.

           86.    The false and misleading representations and omissions were made by Defendant,

   upon which Plaintiff and members of the proposed Class and New York Subclass reasonably and

   justifiably relied, and were intended to induce and actually induced Plaintiff and members of the

   proposed Class and New York Subclass to purchase the Product.

           87.    The fraudulent actions of Defendant caused damage to Plaintiff and members of

   the proposed Class and Subclass, who are entitled to damages and other legal and equitable relief

   as a result.

                                         RELIEF DEMANDED

           88.    WHEREFORE, Plaintiff, individually and on behalf of all others similarly

   situated, seeks judgment against Defendants, as follows:

                  a.       For an order certifying the nationwide Class and the New York Subclass
                           under Rule 23 of the Federal Rules of Civil Procedure and naming
                           Plaintiff as representative of the Class and New York Subclass and
                           Plaintiff’s attorneys as Class Counsel to represent the Class and New York
                           Subclass members;



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                 b.      For an order declaring that Defendants’ conduct violates the statutes
                         referenced herein;

                 c.      For an order finding in favor of Plaintiff, the nationwide Class, and the
                         New York Subclass on all counts asserted herein;

                 d.      For compensatory, statutory, and punitive damages in amounts to be
                         determined by the Court and/or jury;

                 e.      For prejudgment interest on all amounts awarded;

                 f.      For an order of restitution and all other forms of equitable monetary relief;

                 g.      For an order enjoining Defendants from continuing the illegal practices
                         detailed herein and compelling Defendants to undertake a corrective
                         advertising campaign; and

                 h.      For an order awarding Plaintiff and the Class and New York Subclass their
                         reasonable attorneys’ fees and expenses and costs of suit.

                                     JURY TRIAL DEMANDED

         Plaintiff demands a trial by jury on all claims so triable.



   Dated: September 30, 2020                      Respectfully submitted,

                                                  BURSOR & FISHER, P.A.

                                                  By: /s/ Yitzchak Kopel
                                                        Yitzchak Kopel


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